
CONCURRING OPINION
CHIEF JUSTICE SAYLOR
I join the majority opinion except for the passages distinguishing Commonwealth v. Reed, 601 Pa. 257, 971 A.2d 1216 (2009). I am of the view that the waiver of all claims presented on direct appeal, as occurred in Reed—resulting in a complete forfeiture of as-of-right direct appellate review—'is tantamount to a complete denial of counsel. Accord id. at 276-77, 971 A.2d at 1227 (Saylor, J., dissenting). Indeed, from my point of view, the majority’s effort to distinguish Reed is in tension with the salutary thrust of its opinion. See Majority Opinion, at 439,150 A.3d at 434 (“[T]he filing of a brief that raises only waived issues ... [is] akin to failing to file documents perfecting an appeal.”); id. at 439 n.ll, 150 A.3d at 434 n.ll (distinguishing “a brief so poor as to warrant a finding of waiver” from “one which is merely deficient in some aspect or another”); id. at 439-40, 150 A.3d at 434 (“There is no meaningful difference between an attorney who fails to file a notice of appeal, Rule 1925(b) statement, brief, or petition for allowance of appeal— thereby forfeiting his client’s right to appeal—and one who *442makes all necessary filings, but does so relative solely to claims he has not preserved for appeal, producing the same end.”).
Justices Wecht and Mundy join this concurring opinion.
